      Case: 3:22-cv-50188 Document #: 102 Filed: 12/07/22 Page 1 of 1 PageID #:474


                           U. S. Di stri ct C o urt for th e N ort h er n Di stri ct Of Illi n oi s
                                            Att or n e y A p p e ar a n c e F or m


                I n rree DDeere
C a s e Titl e: In         e er e && Company
                                       C o m p a n y Repair
                                                       R e p air                  C a s e N u m b er: 3: 2 2- c v- 5 0 1 8 8
                                                                                                      3:22-cv-50188
                S er vi c e s AAntitrust
                Services         ntitr u st Litigation
                                             Liti g ati o n

A n a p p e ar a n c e i s h er e b y fil e d b y th e u n d er si g n e d a s a tt or n e y for:
Pl ai ntiff Forest
Plaintiff   F or e st River
                      Ri v er Farms
                               F ar m s
Att or n e y n a m e ( ty p e or p ri nt): GGayatri
                                             a y atri RRaghunandan
                                                        aghunandan

Fir m: CCotchett,
         ot c h ett, Pitre
                     Pitr e &
                            & MMcCarthy,
                                c C art h y, LLLP
                                               LP

Str e et a d dr e s s: 8840
                         4 0 MMalcolm
                               al c ol m Road,
                                         R o a d, Suite
                                                  S uit e 2200
                                                            00

                       B urli n g a m e, CCA
Cit y/ St at e / Zi p: Burlingame,         A 994010
                                               4010

B ar I D N u m b er: 3348333
                       48333                                                                                   6 5 0- 6 9 7- 6 0 0 0
                                                                                  T el e p h o n e N u m b er: 650-697-6000
( Se e it e m 3 i n in str u cti o n s)

E m ail     Ad dr e s s: gr a g h u n a n d a n @ c p ml e g al. c o m
                         graghunandan@cpmlegal.com

Ar e y o u a cti n g a s le a d c o u n s el in t hi s ca s e ?                                                  ✔✔ Y e s             ✔        No

Ar e y o u a cti n g a s lo c al co u n s el in t hi s c as e ?                                                  ✔      Yes           ✔ No
                                                                                                                                      ✔
Ar e y o u a m e m b er           of th e c o urt’ s tri al b ar?                                                ✔      Yes           ✔ No
                                                                                                                                      ✔
If thi s ca s e r e a c h e s tri al, will y o u a ct a s th e tri al att or n e y ?                             ✔✔ Y e s             ✔        N o * Will a ct a s tri al
                                                                                                                                                   att or n e y al o n g wit h
If thi s is a cri mi n al c as e, ch e c k y o ur stat u s.                               ✔       R et ai n e d C o u n s el                       c o-l e a d c o u n s el

                                                                                          ✔       A p p oi nt e d C o u n s el
                                                                                                  If a pp oi nt e d co u n s e l, ar e y o u
                                                                                                  a
                                                                                                  ✔ F e d er al D ef e n d er
                                                                                                   ✔ C J A P a n el Att or n e y
______________________________________________________________________
I n or d er t o a p p e ar b efor e t hi s Co urt a n att or n e y mu st eit h er b e a m e m b er in g o o d st a n di n g of thi s Co urt’ s
g e n er al b ar or be gr a nt e d l e a v e t o a pp e ar pr o h a c vi c e a s pro vi d e d for by l o c al rul e s 83. 1 2 t hr o u g h 8 3.1 4.
I d e cl ar e u n d er pe n alt y of perj ur y th at th e f or e g oi n g i s tr u e a n d c orr e ct. Un d er 28 U. S. C. § 1 7 4 6, thi s
st at e m e nt u n der p erj ur y h a s th e s a m e f or c e a n d eff e ct a s a s w or n st at e m e nt ma d e u n d er oat h.

E x e c ut e d o n December
                   D e c e m b er 7,
                                  7, 22022
                                       022

Att or n e y si g n at ur e:              S/ GGayatri
                                                  a y atri RRaghunandan
                                                                 aghunandan
                                          ( U s e el e ctr o ni c si g n at ur e if t h e a p p e ar a n c e for m is fil e d el e ctr o ni c all y.)
                                                                                                                                       R e vi s e d   8/ 1/ 2 0 1 5
